Case 3:16-md-02738-MAS-RLS                          Document 32197   Filed 05/17/24   Page 1 of 2 PageID:
                                                         182661
                                 Montgomery
                                 218 Commerce Street
                                 P.O. Box 4160
                                 Montgomery, AL 36103-4160

                                 Atlanta
                                 4200 Northside Parkway
                                 Building One, Suite 100
                                 Atlanta, GA 30327

                                 (800) 898-2034
                                 BeasleyAllen.com


  P. Leigh O’Dell                                                                     Michelle A. Parfitt
  leigh.odell@beasleyallen.com                                                        mparfitt@ashcraftlaw.com



  May 17, 2024



  Honorable Michael A. Shipp, U.S.D.J.
  United States District Court
  Clarkson S. Fisher Building & US Courthouse
  402 East State Street
  Trenton, NJ 08608

  Honorable Rukhsanah L. Singh, U.S.M.J
  United States District Court
  Clarkson S. Fisher Building & US Courthouse
  402 East State Street
  Trenton, NJ 08608

            Re:       Johnson & Johnson Talcum Powder Products, Marketing, Sales
                      Practices and Products Liability Litigation
                      Case No.: 3:16-md-02738-MAS-RLS

  Dear Judge Shipp and Judge Singh:

         We write to advise the Court of a newly published peer-reviewed article
  published in the Journal of Clinical Oncology relevant to the pending matters. The
  article is the peer-reviewed work of Katie M. O’Brien, et al. entitled, “Intimate Care
  Products and Incidence of Hormone–Related Cancers: A Quantitative Bias
  Analysis,” J. Clin. Oncol. 00:1-15; 2024 (attached as Exhibit A).

        The study findings confirm and reaffirm the general causation opinions of
  those plaintiffs’ general causation experts whose reports and testimony were the
  subject of the Daubert challenges conducted before this Court in 2019. The authors
  conclude that there is a positive association between the genital use of talcum powder
Case 3:16-md-02738-MAS-RLS       Document 32197       Filed 05/17/24    Page 2 of 2 PageID:
                                      182662
                                                                Hon. Michael A. Shipp, U.S.D.J.
                                                               Hon. Rukhsanah L. Singh, U.S.M.
                                                                                 May 17, 2024
                                                                                        Page 2


  and ovarian cancer: “Our findings of a positive association between genital talc use
  and ovarian cancer are consistent with previous studies.” p. 13.

         Moreover, the study’s results confirm that there is higher positive association
  between genital talc use and ovarian cancer for frequent and long-term users. (Id.)
  The study’s findings are consistent with and affirmative of the peer-reviewed
  medical and scientific literature published since the Court’s Daubert opinion issued
  on April 27, 2020. Moreover, Dr. O’Brien and her co-authors’ opinions as expressed
  in the study are consistent with the November 2023 supplemental reports of
  plaintiffs’ general causation experts.

                                     Respectfully submitted,
               /s/ P. Leigh O'Dell                     /s/ Michelle A. Parfitt

               P. Leigh O'Dell                         Michelle A. Parfitt


  cc:   Hon. Joel Schneider, U.S.M.J. (ret.) (via email)
        Susan Sharko, Esq. (via email)
        All Counsel (via ECF)
